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                            Exhibit G
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                                                                                                                Raymond A. Quaglia
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                                                                                                                Fax: 215.864.8999
                                                                                                                quaglia@ballardspahr.com




   August 1, 2024


   Via FedEx

   MICH 424 Park LLC
   1901 Dorchester Road, Apartment # PH
   Brooklyn, NY 11226
   Attention: Boruch Drillman

   Re:       NOTICE OF ACCELERATION of the loan to MICH 424 Park LLC, a New Jersey limited
             liability company (“Borrower”), in the original principal amount of $1,497,000.00 (the
             “Loan”), evidenced by the Note in the principal amount of $1,497,000.00 effective as of
             October 26, 2018 (the “Note”), given by Borrower to CBRE Capital Markets, Inc. (“Original
             Lender”), and the Loan Agreement between Borrower and Original Lender effective as of
             October 26, 2018 (the “Loan Agreement”), and secured by the Multifamily Mortgage,
             Assignment of Rents and Security Agreement from Borrower to Original Lender effective as
             of October 26, 2018 (the “Mortgage”) (the Note, the Loan Agreement, the Mortgage and all
             other loan documents being collectively referred to herein as the “Loan Documents”), the Loan
             Documents having been assigned to and being held by Wells Fargo Bank, National
             Association, as Trustee for the benefit of the holders of Amherst Pierpoint Commercial
             Mortgage Securities LLC, Multifamily Mortgage Pass-Through Certificates, Series 2019-
             SB59 (“Lender”)

   Dear Borrower:

   We are counsel to Lender and to KeyBank National Association (“KeyBank”), acting solely in its
   capacity as Special Servicer on behalf of Lender. KeyBank is empowered to act on behalf of Lender
   in connection with the Loan. Capitalized terms used and not defined herein shall be as defined in the
   Loan Documents.

   Reference is made to the Notice of Default dated April 3, 2024, issued to Borrower by the undersigned
   (the “Notice of Default”). The Notice of Default notified Borrower that an Event of Default had
   occurred under the Note, the Mortgage, the Loan Agreement and the other Loan Documents by virtue
   of Borrower’s failure to make its required monthly payments of principal and interest and reserve
   deposits beginning with the Payment Date for December 1, 2023, together with the resulting late
   charges, default interest and costs.

   The Loan Documents provide that, at any time during the existence of an Event of Default, Lender
   may, among other remedies, “declare the Indebtedness to be immediately due and payable without
   further demand.” See Mortgage § 31; accord Note § 5(e).
    DMFIRM #413059233 v1




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   The Notice of Default advised Borrower that, if the Delinquent Amounts (as defined) were not paid in
   full within seven days of the date of the Notice of Default, the Indebtedness may be accelerated and
   declared to be immediately due and payable and demand made for the immediate and full payment of
   same.

   PLEASE BE ADVISED THAT, AS OF THE DATE HEREOF, THE EVENT OF DEFAULT
   IDENTIFIED IN THE NOTICE OF DEFAULT HAS NOT BEEN CURED BY BORROWER AND
   IS CONTINUING.

   PLEASE BE FURTHER ADVISED THAT, AS A RESULT OF THE OCCURRENCE AND
   CONTINUANCE OF THE EVENT OF DEFAULT DESCRIBED IN THE NOTICE OF DEFAULT,
   (A) THE INDEBTEDNESS SECURED BY THE MORTGAGE IS HEREBY ACCELERATED AND
   DECLARED TO BE IMMEDIATELY DUE AND PAYABLE, (B) DEMAND IS HEREBY MADE
   OF BORROWER FOR THE IMMEDIATE AND FULL PAYMENT OF THE INDEBTEDNESS,
   AND (C) INTEREST WILL CONTINUE TO ACCRUE AT THE DEFAULT RATE UNTIL THE
   INDEBTEDNESS IS PAID IN FULL.

   Further, in the event Borrower makes any subsequent payment of any amount less than the full
   Indebtedness due under the Loan (“Partial Payment”), Lender will apply such Partial Payment to the
   Indebtedness owing under the Loan Documents as a partial payment. No such Partial Payment or the
   acceptance thereof by Lender shall constitute or be deemed or construed as a waiver of any default
   under the Loan Documents. In addition, any Partial Payment or the acceptance of any Partial Payment
   of Lender shall not constitute or be deemed or construed as a cure of any existing default under the
   Loan Documents, a modification of the Loan Documents or the terms of this letter, a reinstatement or
   satisfaction of the Loan, an election of remedies by Lender, or a waiver, modification, relinquishment
   or forbearance by Lender of any of Lender’s rights or remedies under the Loan Documents or at law
   or in equity, all of which rights and remedies Lender hereby expressly reserves.

   This Notice is provided as a courtesy and is not intended and should not be misconstrued as an
   admission that any written notice is otherwise due to Borrower from Lender.

   As there may be other existing or potential Events of Default, other than the Event of Default described
   in the Notice of Default, Lender hereby reserves any and all of its rights, remedies and powers under
   the Loan Documents and applicable law and in equity with regard to the Event of Default described in
   the Notice of Default and any other existing, potential or future Events of Default under the Loan
   Documents.




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   If you should you have any questions regarding this matter, including the full amount of the
   Indebtedness owed to Lender, please contact Isaac Judge, Asset Manager, at KeyBank at 913-218-
   2757, or via email at Isaac_S_Judge@keybank.com.

   Sincerely,

   /s/ Raymond A. Quaglia

   Raymond A. Quaglia



   cc:      Mr. Isaac Judge (via email)




   ATTENTION TO ANY DEBTOR IN BANKRUPTCY OR ANY DEBTOR WHO HAS RECEIVED
   A DISCHARGE IN BANKRUPTCY OR WHO MAY HAVE PAID OR SETTLED OR OTHERWISE
   NOT BE OBLIGATED UNDER THE LOAN: Please be advised that this letter constitutes neither a
   demand for payment of the Loan, nor a notice of personal liability to, nor action against, any recipient
   hereof who may have received a discharge of the Loan in accordance with applicable bankruptcy laws
   or who might be subject to the automatic stay of Section 362 of the United States Bankruptcy Code or
   has paid or settled or is otherwise not obligated by law for the Loan.




    DMFIRM #413059233 v1
